                                                            Case 2:15-cv-04819-R-MRW Document 9 Filed 07/17/15 Page 1 of 1 Page ID #:28




                                                                               UNITED STATES DISTRICT COURT
                                                                              CENTRAL DISTRICT OF CALIFORNIA


                                                            MATTHEW FIEL,

                                                                               Plaintiff,

                                                                              vs.
                                                                                                      Docket No: 2:15-cv-04819-R-MRW
                                                            COMMERCIAL COLLECTION
                                                            CONSULTANTS, INC.,

                                                                              Defendant.
BARSHAY | SANDERS PLLC
                         100 GARDEN CITY PLAZA, SUITE 500
                          GARDEN CITY, NEW YORK 11530




                                                                 NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P.
                                                                                   41(a)(1)(A)(i)

                                                                  Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,

                                                            plaintiff MATTHEW FIEL, through their counsel, hereby give notice that the

                                                            above captioned action is voluntarily dismissed without prejudice.


                                                            DATED: July 17, 2015

                                                                                                  BARSHAY SANDERS, PLLC
                                                                                                  By: /s Craig B. Sanders
                                                                                                  Craig B. Sanders, Esq.
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                                                                                                  Our File No.: 108940
